           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FOURTH CIRCUIT


STEVEN ROBERT BROWN, et al.,

                 Plaintiffs-Appellees,
            v.
                                                       No. 23-2275
BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES, et al.,

                 Defendants-Appellants.


    APPELLANTS’ UNOPPOSED MOTION TO MODIFY THE
                 BRIEFING SCHEDULE

     Pursuant to Local Rule 31(c), the government respectfully moves

to modify the briefing schedule in the manner set forth below. This

motion is unopposed.

     1. This appeal involves a Second Amendment challenge to the

federal statute prohibiting federal firearms licensees from selling

handguns to under-21-year-olds. After the opening and response briefs

were filed, the Court held briefing in abeyance pending the en banc

Court’s disposition of three Second Amendment cases. Those cases have

now been resolved and the Court has accordingly directed that briefing
in this case resume. Under a briefing schedule entered earlier this

week, the government’s reply brief is due on October 8, 2024.

     2. The government respectfully requests that this deadline be

extended by 30 days, such that the government’s brief is due on

November 7, 2024. The government has not previously sought an

extension of the deadline.

     3. The requested extension is necessary in light of other deadlines

faced by government counsel. Steven Hazel has principal responsibility

for preparing the government’s brief in this case. Mr. Hazel also has

principal responsibility for presenting argument in Reese v. ATF, No.

23-30033 (5th Cir.) (argument set for September 23, 2024) and in NSBU

v. Yellen, No. 24-10736 (11th Cir.) (argument set for September 27,

2024). Mr. Hazel is also responsible for multiple time-sensitive internal

matters. In addition, Mr. Hazel has a previously-scheduled vacation

from October 4 to October 11.

     4. Mark Stern has supervisory responsibility for the government’s

brief in this case. Mr. Stern also has supervisory responsibility for the

following matters with upcoming deadlines: New York v. Biden, No. 23-

5103 (D.C. Cir.) (opening brief due on October 21, 2024); Virgin Islands


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Housing Finance Auth. v. FEMA, No. 24-5122 (D.C. Cir.) (response brief

due on November 8, 2024); Brown v. FBI, No. 23-5244 (D.C. Cir.)

(response brief due on October 18, 2024); Washington Lawyers’

Committee for Civil Rights and Urban Affairs v. DOJ, No. 24-5127 (D.C.

Cir.) (response brief due on October 18, 2024).

     5. William Bergstrom, counsel for plaintiffs, has informed the

undersigned that plaintiffs do not oppose this proposed change to the

briefing schedule.

                                Respectfully submitted,

                                MARK B. STERN

                                 s/ Steven H. Hazel
                                STEVEN H. HAZEL
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September 2024




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                    CERTIFICATE OF SERVICE

     I hereby certify that on September 18, 2024, I electronically filed

the foregoing motion with the Clerk of the Court by using the appellate

CM/ECF system. I certify that the participants in the case are

registered CM/ECF users and that service will be accomplished by the

appellate CM/ECF system.



                                         s/ Steven H. Hazel
                                        Steven H. Hazel
                   CERTIFICATE OF SERVICE

     I certify that this motion to modify the briefing schedule, filed on

September 18, 2024, complies with the type-volume limitation of Federal

Rule of Appellate Procedure 27(d), because it contains 365 words

according to the count of Microsoft Word and is printed in Century

Schoolbook 14-point font.

                                   s/ Steven H. Hazel
                                  STEVEN H. HAZEL




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